 Case 3:17-cv-00155-M Document 127 Filed 07/02/18                  Page 1 of 10 PageID 1755



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

DR. DEREK MELBY, AND DANILO                          §
POLICARPIO as individuals and on                     §
behalf of all others similarly situated              §
                                                     §
Plaintiffs,                                          §       Civil Action No. 3:17-CV-155-M
                                                     §
v.                                                   §       consolidated with
                                                     §
AMERICA’S MHT, INC., SCOTT POSTLE,                   §       Civil Action Nos. 3:17-CV-732-M;
ASCENTIUM CAPITAL, LLC, and                          §       3:17-CV-868-M; and
CLIFF MCKENZIE                                       §       3:17-CV-963-M
                                                     §
Defendants.                                          §


              DECLARATION OF ISAAC J. TAWIL IN SUPPORT OF APPROVAL
                  OF CLASS COUNSEL’S MOTION FOR AN AWARD OF
                ATTORNEY’S FEES AND REIMBURSEMENT OF EXPENSES


I, Isaac J Tawil, hereby declare:

     1. I am and have been since 1999 an attorney duly licensed and practicing in Texas the State

        of Texas. I have personal knowledge of the matters set forth in this declaration and, if

        called to testify, could and would competently testify about them. I submit this

        declaration in support of Class Counsel’s application for attorney’s fees and

        reimbursement of expenses, plus interest.

     2. I represent the following class members (“Settling Clients”) who have opted in to the

        proposed class settlement:

              a. David Schnaiderman, M.D.

              b. Adriana Gomez, M.D.
Case 3:17-cv-00155-M Document 127 Filed 07/02/18                Page 2 of 10 PageID 1756



         c. Eduardo Candanosa, M.D.

         d. Miguel Guerra Valencia, M.D.

         e. Oscar Salinas, M.D.

  3. Since December 2016, on behalf of my Settling Clients, I have collaborated with Class

     Counsel in the investigation and prosecution of the claims presented in the above styled

     matter to this Honorable Court.

  4. Additionally, I have engaged in various discussions of and made recommendations for

     the resolution of settlement issues.

  5. I have participated in these discussions based upon my legal work and personal

     investigation of the facts and circumstances related to the claims presented in above

     styled matter to this Honorable Court.

  6. My legal work related to this matter, as provided in more detail on the attached Exhibit

     A, consisted of 102.5 hours of legal services billed to and for which my Settling Clients

     have paid me $25,608.33 and expenses in the amount of $11,375.25 which my Settling

     Clients have also paid.

  7. Over the past several days, I have worked with my practice management provider to gain

     an understanding of the mechanisms by which their system will generate the reports

     attached as Exhibit A and in a manner that will not jeopardize the attorney-client

     privilege and relationship.

  8. Prior to acquiring a license for the use of my practice management system, I billed my

     client’s manually. For the period of time I represented my Settling Clients in this matter,

     prior to my acquisition of a license for the use of my practice management software, I

     billed my Settling Clients manually for approximately 5.96 hours of legal services at a
 Case 3:17-cv-00155-M Document 127 Filed 07/02/18                 Page 3 of 10 PageID 1757



       rate of $250.00 per hour, which my Settling Clients’ paid to me. This time is not

       reflected on the reports generated by my practice management system.



       I declare under the penalty of perjury under the laws of the United States of America that

the foregoing is true and correct, executed on July 2, 2018, at McAllen, Texas.


                                                     /s/ Isaac J Tawil
                                                     Isaac J Tawil



                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 2, 2018, a true and correct copy of the foregoing declaration
was served on all counsel of record through the Court’s electronic filing system.


                                                     /s/ Jonathan P. Lemann
                                                     Jonathan P. Lemann
Case 3:17-cv-00155-M Document 127 Filed 07/02/18   Page 4 of 10 PageID 1758




                               Exhibit A
Case 3:17-cv-00155-M Document 127 Filed 07/02/18   Page 5 of 10 PageID 1759




                                                                        Exhibit A
Case 3:17-cv-00155-M Document 127 Filed 07/02/18   Page 6 of 10 PageID 1760




                                                                        Exhibit A
Case 3:17-cv-00155-M Document 127 Filed 07/02/18   Page 7 of 10 PageID 1761




                                                                        Exhibit A
Case 3:17-cv-00155-M Document 127 Filed 07/02/18   Page 8 of 10 PageID 1762




                                                                        Exhibit A
Case 3:17-cv-00155-M Document 127 Filed 07/02/18   Page 9 of 10 PageID 1763




                                                                        Exhibit A
Case 3:17-cv-00155-M Document 127 Filed 07/02/18   Page 10 of 10 PageID 1764




                                                                         Exhibit A
